                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA


 UNITED STATES OF AMERICA                           )
                                                    )           Case No. 1:09-CR-181
 v.                                                 )
                                                    )           Chief Judge Curtis L. Collier
 JESSIE JOHNSON                                     )
                                                    )


                                              ORDER

        The Court has received a Report and Recommendation (“R&R”) from United States

 Magistrate Judge William B. Mitchell Carter, recommending Defendant Jessie Johnson

 (“Defendant”) be found competent to stand trial (Court File No. 747). The magistrate judge

 conducted a competency hearing on August 24, 2010 (Court File No. 718) addressing Defendant’s

 motion requesting the Court (1) evaluate and determine his competency to stand trial pursuant to 18

 U.S.C. § 4241(d); (2) evaluate issues related to Defendant’s sanity at the time of the alleged offense;

 and (3) determine whether Defendant suffered from a significantly reduced mental capacity which

 contributed substantially to the commission of the offense alleged (see Court File No. 218). The

 R&R recommends the Court find Defendant is competent to stand trial and is not currently suffering

 from a mental disease or defect rendering him incompetent to the extent he is unable to understand

 the nature and consequences of the proceedings filed against him or assist properly in his own

 defense. In regards to the issue of sanity at the time of the alleged offense, the magistrate judge

 found this issue is one to be determined by the jury. Finally, as to any remaining issue of reduced

 capacity, the magistrate judge found this is an issue related to sentencing, which should be addressed

 by the Court if necessary. No objections were filed.



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         After reviewing the record, the Court agrees with the R&R. The Court hereby ACCEPTS

 and ADOPTS Magistrate Judge Carter’s R&R (Court File No. 747), pursuant to 28 U.S.C. §

 636(b)(1), and DETERMINES:

         (1) Defendant is competent to stand trial;

         (2) The issue of Defendant’s sanity at the time of the alleged offense is to be determined by

 a jury if the matter proceeds to trial; and

         (3) Any remaining issue as to Defendant’s reduced capacity is to be determined by the Court

 at the time of sentencing, if necessary.

         SO ORDERED.

         ENTER:

                                               /s/
                                               CURTIS L. COLLIER
                                               CHIEF UNITED STATES DISTRICT JUDGE




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